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 1   KATHERINE HART #76715
     Attorney at Law
 2   2055 San Joaquin
     Fresno, Ca. 93721
 3   Telephone: (559) 256-9800
     Facsimile: (559) 256-9798
 4
     Attorney for Defendant
 5   LOUISE Q. BOOTH
 6
 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                )       CR-F-09-CR 000142 LJO
                                              )
12         Plaintiff,                         )       STIPULATION TO
                                              )       CONTINUE PROCEEDINGS
13                                            )       AND REQUEST FOR ORDER
                                              )
14         v.                                 )       Old date: 11/14/11 at 1:00 p.m.
                                              )       New date: 1/23/12 at 1:30 p.m.
15                                            )
                                              )
16                                            )
     LOUISE Q. BOOTH et al.                   )
17                                            )
           Defendants.                        )
18                                        )
19         IT IS HEREBY STIPULATED BETWEEN COUNSEL FOR THE
20   GOVERNMENT AND COUNSEL FOR DEFENDANT AS FOLLOWS:
21         That the date set for the sentencing of codefendant VINCENT STEVEN
22   BOOTH, husband of LOUISE Q. BOOTH, has been previously set for January 12,
23   2012 at 1:30 p.m.
24         That the Office of the United States Attorney and the defendant, through
25   counsel, agree that judicial economy will be served by setting the two matters on
26   the same date;
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28                                                1
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 1             That the statutorily mandated conditions of release, including the provision
 2   that defendant LOUISE Q. BOOTH obey all laws, shall remain in full force and
 3   effect.
 4             That LOUISE Q. BOOTH waives any provision of the Speedy Trial Act.
 5
 6   DATED: November 7, 2011                   /s/Katherine Hart
                                               KATHERINE HART, Attorney for
 7                                             LOUISE Q. BOOTH
 8
     DATED: November 7, 2011                   /s/Mark Cullers
 9                                             MARK CULLERS, Chief, Fresno Office,
                                               OFFICE OF THE UNITED STATES
10                                             ATTORNEY
11
12                                           ORDER
13             GOOD CAUSE APPEARING, it is hereby ordered as follows:
14             That the proceedings for LOUISE BOOTH, defendant in the above-entitled
15   case, be continued to Monday, January 23, 2012 at 1:30 p.m., to coincide with the
16   sentencing scheduled for codefendant VINCENT STEVEN BOOTH;
17             That LOUISE Q. BOOTH is ordered to continue to comply with all
18   statutorily mandated conditions of pretrial release, including the provision that she
19   obey all laws.
20   IT IS SO ORDERED.
21   Dated:        November 7, 2011             /s/ Lawrence J. O'Neill
     b9ed48                                 UNITED STATES DISTRICT JUDGE
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